Case 2:05-cr-20l47-.]PI\/| Document 22 Filed 07/08/05 Page 1 of 2 Page|D 24
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P|aintiff

VS.
CR. NO. 05-20147-D

KERRI PEEPLES

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a

report date of Thursda)¢l Segtember 22, 2005, at 9:00 a.m., in Courtroom 3. 9th F|oor
of the Federa| Building, N|emphis, TN.

 

The period from Ju|y 15, 2005 through October 14, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time

to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this 3 day of Ju|y, 2005.

B N|CE B. D NALD
UN|TED STATES D|STR|CT JUDGE

This document entered on the docket sheet in compliance
with ama 55 and/ur 32{b) rach on fZ '/f§’Q© i?¢?

   

UNITED STATE ISTRIC COURT - WE TER D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20147 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

